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WESTERN DISTRICT OF TENNESSEE 05 AUG ~2 PH 2.- 39

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CHARLES M. MURPHY, JR., JUI)GMENT IN A CIVIL CAS§ l

Plaintiff,
v.

UNITED STATES OF AMERICA, CASE NO: 2:05-2407-B

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS S() ORDERED AND ADJUDGED that in accordance With the Order Of Dismissal
entered on August 1, 2005, this cause is hereby dismissed.

 

OVED:
mNIEL BREEN
m§l) STATES DISTRICT COURT
THOMAS M. GOULD
8 14 ______
Date Clerk of Court

(By) Deputy CI k

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UNITED sATTE D"ISTRI'CT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 13 in
case 2:05-CV-02407 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Charles M. Muprhy

6539 Knight Arnold Rd. EXt.
Apt. # 16

1\/1emphis7 TN 38115

Honorable .1. Breen
US DISTRICT COURT

